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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division


JACQUELINE DOE,

        Plaintiff,

v.                                      Civil Action No. 3:20cv669

RAWLS LAW GROUP, P.C.,
et al.,

        Defendants.


                           MEMORANDUM OPINION

        This matter is before the Court on the MOTION TO DISMISS (ECF

No. 48) filed by the Rawls Law Group, P.C. ("RLG") and Brewster S.

Rawls     ("Rawls").   Having reviewed the motion,       the supporting,

opposing, and reply memoranda (ECF Nos. 49, 54, and 55), and having

studied the COMPLAINT FOR DAMAGES ("Complaint") (ECF No. 1) and

its exhibits, the Court concludes that the MOTION TO DISMISS will

be granted and that plaintiff will be permitted to file an Amended

Complaint.

                               BACKGROUND

        Jacqueline Doe is a veteran of the United States Army who

suffers from Post-Traumatic Stress Disorder ("PTSD"} that is the

result of a rape she suffered while she was based in Houston, Texas

in 1989.     ECF No. 1 � 4.    Since then, Doe has been on a variety

of psychotropic medications, has suffered from ongoing psychiatric
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illness,    was   homeless,     and    was    suffering from    substance   abuse

addiction.        In   March   2015,    Doe    entered   into   the   Domiciliary

Residential Rehabilitation Treatment Program C'DRRTP") operated by

the Veteran's Administration ('^VA") at the Los Angeles VA Medical

Center.     DRRTP offers residential clinical care for veterans with

issues    related      to   mental    health,    substance   abuse,    PTSD,   and

homelessness.


       From March 2015 to May 2016, Doe resided at DRRTP and received

regular treatment there.             A VA social worker, Michelle Foreman,

acted as one of Doe's therapists while she was being treated at

DRRTP.     As a result of treatment at DRRTP, Doe improved.

       On May 3, 2016, Foreman determined that Doe had relapsed to

drug addiction.        On May 6, 2016, Doe was discharged from the DRRTP.

For a period of time thereafter. Doe lived in a motel.

       After Doe was discharged from DRRTP, Foreman visited her at

the motel and advised Doe that she was sexually attracted to her.

It was then that the sexual relationship began between Foreman and

Doe.     The two had sex several times a week, including once at an

office on the VA campus.               The relationship continued through

August 2016.        During this time. Foreman applied on Doe's behalf

for membership in a housing program called the Billets.                  Veterans

could stay for up to six months.              And, Foreman enrolled Doe in the

VA outpatient program in downtown Los Angeles.                    On August 29,
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2016,    Doe    advised   Foreman   that   the    relationship   should   end.

Foreman became incensed and threatened             Doe with physical harm.

Doe reported Foreman to VA officials and on September 9, 2016, the

VA began an internal investigation           which resulted in a report

substantiating the allegations that Doe made against Foreman and

others at the VA.


        On February 10, 2017, Doe submitted a Federal Tort Claim,

^^CLAIM FOR DAMAGE, INJURY OR DEATH.''           Ex. 2, EOF No. 1.   Therein,

she described the basis of her claim as follows:

               SEXUAL EXPLOITATION/BATTERY
               FAILURE TO PROVIDE PROPER CARE


Doe attached a four page, single-spaced memorandum detailing her

claims.    When asked in the form to describe the nature and extent

of her injuries, she replied:

               SEXUAL EXPLOITATION/BATTERY
               EMOTION/MENTAL ANGUISH
               PAIN AND SUFFERING


        On September 8, 2017, Doe retained RLG and Rawls to represent

her in a federal tort claim against the VA.             That claim was said

to arise out of Doe's interactions with Foreman.            On September 27,

2017, RLG acting through Rachel P. Maryan ("Maryan"), an associate

in the firm, communicated with the Office of Chief Legal Counsel

for the VA that Doe's claims could be settled for $200,000.00

(rather than the $125,000.00 offer that the VA then had on the

table).     See Exs. 4 and 5, ECF No. 1.            It is alleged that both
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Rawls    and   Maryan   advised   Doe   that,   ''because   of   the   $250,000

California cap on damages her case settled for $200,000, just below

the cap."      EOF No. 1 SI 34.

        In December 2019, Doe learned about a very large verdict in

California that was produced by circumstances not unlike those

which    Doe   had experienced.     She spoke     with the lawyer (David

Feldman) who had represented the plaintiffs in that case.               Feldman

advised that there were certain claims that were available to Doe

that would not have had any cap on damages, including Dependent

Adult Abuse (Welf. & inst. § 15610.57), Sexual Harassment by a

Professional (Civil Code § 51.9), Infliction of Emotional Distress

(Xue Lu V. Powell), and Interference with the Civil Rights (Civil

Code § 52.1)..

        In paragraph 1, the Complaint says: "[t]his case arises from

a highly-prejudicial error by a Virginia litigation firm - Rawls

Law Group, PC ("RLG") - its named partner Brewster S. Rawls

("Rawls") and his former associate Rachel P. Maryan ("Maryan")."^

The Complaint asserts three claims for relief which are denominated

as numbered "CAUSES OF ACTION," not "COUNTS," as is more usual in

federal courts in Virginia.         In the FIRST CAUSE OF ACTION, the

Complaint alleges that defendants:




1 Maryan is not a named defendant.
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              were professionally negligent in                 not making
              and advancing the obvious meritorious claims
              that employees of the United States of America
              neglected   and    abused   Plaintiff    under
              California       Welf.    &   Inst.     Code    §     15610.57
              (protect       from    health   and     safety      hazards),
              violation      of     California   Civil       Code    §   51.9
              (sexual         harassment            dji      professional
              relationships),  infliction   of   emotional
              distress (Xue v. Powell, 621 F.3d 944 (9th
              Cir. 2010) and violation of California Civil
              Code § 52.1 (interference with Civil Rights).

ECF No. 1 at 18 (emphasis added).                In the SECOND CAUSE OF ACTION,

the Complaint asserts, for exactly the same reasons, a claim for

breach of contract, reciting the underscored text as the breach of

contract.       In its THIRD CAUSE OF ACTION, the Complaint asserts a

claim     for    alleged      breach     of   fiduciary        duty,     reciting        the

underscored text as the breach of fiduciary duty.

                                       DISCUSSION


        The   MOTION    TO    DISMISS is brought          under      Fed.    R.   Civ.    P.

12(b)(6).       A motion to dismiss pursuant to Rule 12(b)(6) ''tests

the sufficiency of a complaint."              Columbia v. Haley, 738 F.3d 107,

116 (4th Cir. 2013).           To survive a motion to dismiss, the factual

allegations set forth in the complaint must be sufficient to "'to

raise a right to relief above the speculative level' and 'state a

claim to relief that is plausible on its face.'"                            Id. (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).                            "A claim

is 'plausible on its face,' if a plaintiff can demonstrate more

than 'a sheer possibility that a defendant has acted unlawfully.'"
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Rockville CarS; LLC v. City of Rockville, 891 F.3d 141, 145 (4th

Cir. 2018) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

Nevertheless, "[a] complaint should not be dismissed pursuant to

Rule 12(b)(6) . . . unless it appears to a certainty that the

nonmoving party cannot prove any set of facts in support of its

claim    that   would   entitle it to relief."             Chapman    v.   Clarendon

Nat^l Ins. Co., 299 F. Supp. 2d 559, 562 (E.D. Va. 2004).

        When considering a motion to dismiss under Fed. R. Civ. P.

12(b)(6), a court ''must accept the factual allegations of the

complaint as true and construe them in the light most favorable to

the nonmoving party."          Rockville Cars, 891 F. 3d at 145. However,

courts need not "accept as true a legal conclusion couched as a

factual allegation."          SD3, LLC v. Black & Decker (U.S.) Inc., 801

F.3d    412,    422 (4th      Cir.   2015)    (quoting     Anand    v.   Ocwen     Loan

Servicing,      LLC,    754   F.3d    195,    198   (4th   Cir.     2014)).        And,

"[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice." Iqbal,

556 U.S. at 678.


        Although   a    court's      review   is    generally      limited    to    the

allegations in the complaint, where a copy of a written instrument

is attached as an exhibit to the complaint or incorporated by

reference, the instrument is part of the complaint and a court may

consider it.       Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166
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(4th Cir. 2016); see also Fed. R. Civ. P. 10(c) (''A statement in

a   pleading   may   be    adopted   by    reference     elsewhere    in   the   same

pleading or in any other pleading or motion.                 A copy of a written

instrument that is an exhibit to a                   pleading is a    part of the

pleading for all purposes.").

       The predicate for the MOTION TO DISMISS in this case is

somewhat confusing.          In the ARGUMENT section, the supporting

memorandum begins with the assertion that:

             Ms. Foreman was not acting within the scope of
             her employment when she engaged in a sexual
             relationship with Ms. Doe because a) the
             entirety of the sexual relationship occurred
             after   Ms.    Doe   was     in   the   VA's   custody   or
             control, and, even it were not, b) the VA could
             not foresee Ms. Foreman's conduct, which was
             for her own personal interest.

EOF No. 49 at 6-7 (emphasis added).

       Before addressing those arguments, however, the memorandum in

support of the MOTION TO DISMISS also argues that, because the

gravamen of Doe's claim is a sexual assault which falls within the

assault and battery exception to the Federal Torts Claim Act

C'FTCA"), the United States is immune from plaintiff's claims.

ECF No. 49 at 7-8.         It then mentions in passing that intentional

torts are excepted from redress under the FTCA.                   The memorandum

in support of the MOTION TO DISMISS then reverts to the argument

that Foreman was not acting within the scope of her employment.

Finally, the memorandum in support concludes with the argument
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that there is no cause of action for breach of fiduciary duty in

a legal malpractice case.      ECF No. 49 at 14.    In sum, the briefing

in support of the MOTION TO DISMISS is disjointed and convoluted,

thereby making it difficult to analyze.

       However, Doe's reply brief, apparently inadvertently, helps

to clarify the situation.

       To begin. Doe's responsive memorandum in effect concedes that

there is but one possible predicate for a legal malpractice claim

by arguing that the legal malpractice is the failure to raise a

claim for infliction of emotional distress.         Indeed, Doe does not

even mention the other three claims that were not raised.         So, the

briefing has served to narrow the asserted legal malpractice from

four theories to one.


       However, the briefing in the case is inadequate to address a

more fundamental problem that appears on the face of the Complaint.

In particular, although it is obvious that the Complaint seeks to

bring a legal malpractice claim under Virginia law, it undertakes

that    mission   by   asserting   claims   for   negligence,   breach   of

contract, and breach of fiduciary duty, a construct that is unknown

to the Virginia law of legal malpractice.
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     It is settled that, in Virginia, ''an action for the negligence

of an attorney in the performance of professional services, while

sounding in tort, is an action for breach of contract . . .

Oleyar v. Kerr, 225 S.E.2nd 398, 400 (Va. 1976).          Accordingly:

          [u]nder Virginia law, therefore, plaintiffs'
          breach of contract claim is not separate from
          their claims for legal malpractice, but is
          simply a restatement of the same cause of
          action. By the same token, plaintiffs' breach
          of fiduciary duty claims are also redundant to
          their legal malpractice claims because they
          arise from the same contract.


General Sec. Ins. Co. v. Jordan, Coyne & Savits, LLP, 357 F. Supp.

2d 925, 961-62 (E.D. Va. 2005) (citing O'Connell v. Bean, 556 S.E.

2d 741, 743 (Va. 2002)).        In other   words, "no matter      how   the

undertaking   to   exercise    ordinary    skill    and    knowledge     is

characterized, the essential claim is for legal malpractice."            See

Mallen & Smith, 1 Legal Malpractice § 8.1, at 769-70.         Therefore,

whether alleged as negligence, breach of contract, or fiduciary

duty, the same failure to provide adequate service is the crux of

a legal malpractice claim.

     When those principles are applied to the Complaint, it is

obvious that the FIRST CAUSE OF ACTION (negligence) and the THIRD

CAUSE OF ACTION (breach of fiduciary duty) are redundant of the

SECOND CAUSE OF ACTION (breach of contract).           Accordingly, the

FIRST and THIRD CAUSES OF ACTION fail as a matter of law.        However,

neither the memorandum in support of the MOTION TO DISMISS nor
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defendants' reply brief salute this fundamental defect.             It is

nonetheless necessary, in the interest of judicial efficiency and

economy, that the distinction recognized by Virginia law be applied

as this case proceeds forward.

     It is also true that to recover in a legal malpractice claim

under Virginia law that a plaintiff must prove the so-called "case-

within-a-case" to show       that absent malpractice of the lawyer,

plaintiff would have prevailed in the underlying action.          Whitely

V. Chamouris, 574 S.E. 2d 251, 252-53 {Va. 2003).         The memorandum

in support of the MOTION TO DISMISS uses that precept to advance

the view that Doe was required to prove that "her claim was

cognizable under the FTCA, and that the United States District

Court for   the   Southern   District    of California   would   have   had

jurisdiction over the FTCA claims."       ECF No. 49 at 4.    From there,

defendants argue that the United States is immune from suit under

the doctrine of sovereign immunity unless it consents to be sued;

that the    United States has not        waived sovereign immunity for

intentional torts or for acts outside the scope of employment as

determined by state law; and that, therefore, the federal court in

California lacked jurisdiction.       Id. at 4-5.

     The intentional tort argument is then mentioned by citing

United States v. Shearer wherein the Supreme Court held that the

assault and battery exclusion of the FTCA as presented in 28 U.S.C.

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§ 2680(h) ^'does not merely bar claims for assault and battery; in

sweeping language it excludes any claim arising out of assault or

battery."      473     U.S.    52,   55   (1985).         That   argument,    albeit

convoluted, has nonetheless helped shape the issues in the case.

That is because in her reply brief Doe now asserts only that the

law   firm   ought     to     have   brought   a     claim    for    infliction   of

intentional distress.          ECF No. 54 at 3-4.            In so doing. Doe has

narrowed her claim to the following:

             here the social worker social worker [Foreman]
             committed        intentional,      and/or        negligent
             infliction       of   emotional   distress       when   the
             social worker committed sexual misconduct and
             patient abuse through coercion in exchange for
             legal help and aid in receiving VA care.

      That statement, however, complicates the assessment of the

MOTION TO DISMISS because of the assertion that Foreman's conduct

was   ''intentional      and/or      negligent"      in    inflicting      emotional

distress.     If, as alleged, the infliction of emotional distress

occurred as a direct result of the sexual assault and that was

intentional, it would appear that the claim would be barred as an

intentional claim for which there is no waiver of immunity.                       On

the other hand, the assertion that the infliction of emotional

distress was negligent implies that there might not be immunity.

However,     neither    brief      addresses   the    infliction      of   emotional

distress claim as it currently exists and as it has been presented

by the exchange of briefs that has occurred to date.
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      To further complicate the matter, defendants raise the issue

of whether Foreman was acting within the scope of her employment

under California law.        EOF No. 49 at 5-6, 8-10.         Doe contends that

Foreman   did    act    within   the   scope   of    her   employment    when   she

sexually abused        Doe   because the conduct           was incident of the

therapist/patient relationship.           However, the Complaint seems to

allege that the sexual abuse occurred at a time when Foreman was

not acting incident to the therapist/patient relationship.                       In

addition. Doe takes the view that infliction of emotional distress

occurring in the course of employment is a separate tort from the

assault and battery so that infliction of emotional distress during

the alleged sexual assault is not excepted under the assault and

battery exception to the FTCA.           That issue, as addressed, is very

difficult to understand.


      As is obvious from the foregoing, the briefing in this case

has   narrowed    the    issues,   but   it    has    left   them   in   a   rather

convoluted state.        In particular, it is clear that the only claim

that possibly can exist is a breach of contract claim for medical

malpractice because RLG and Rawls allegedly did not realize that

there was a negligent infliction of emotional distress claim that

would not be subject to the damage caps in California law.                      That

is a discreet issue which is dispositive of the case, and it is

impossible to truly analyze the parties' positions on that issue

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because of the way the issue has evolved in the course of briefing

to date.    The scope of employment issue is likewise so convoluted

as to defy analysis.

                                CONCLUSION


     For the reasons set forth above, the MOTION TO DISMISS (EOF

No. 48) will be granted because the Complaint does not state claims

for malpractice under Virginia law in the asserted FIRST and THIRD

CAUSES OF ACTION.      As to the SECOND CAUSE OF ACTION, the breach

of contract claim, the Complaint is confusing as to whether the

alleged malpractice is based on intentional or negligent conduct.

Thus, the MOTION TO DISMISS is also granted as to the SECOND CAUSE

OF ACTION but Doe is granted leave to file an Amended Complaint

which reflects the current posture of the case (including the

dismissal   of   the   FIRST   and   THIRD   CAUSES   OF   ACTION)   and   the

recognition that the only possible claim that could form the basis

for a legal malpractice claim pertains to negligent infliction of

emotional distress.     In that regard, it is unclear what law applies

to that claim and what legal principles govern and whether there

is a claim for negligent infliction of emotional distress, or

whether the claim could only be for intentional infliction of

emotional distress.




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     The Court expects Doe's counsel to examine the applicable law

carefully, to assess whether there is a factual or legal basis for

any claim, and to file an Amended Complaint if that examination

supports doing so.     The Court expects counsel for RLG and Rawls

to do likewise in deciding how to respond to the Amended Complaint

that is filed.


     It is so ORDERED.



                                               /s/
                            Robert E. Payne
                            Senior United States District Judge




Richmond, Virginia
Date: March      , 2022




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